







		NO. 12-08-00437-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




EILENE ANN IVETT,§
	APPEAL FROM THE 7TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Eilene Ann Ivett appeals her conviction for aggravated robbery.  Appellant's counsel has
filed a brief asserting compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed.
2d 493 (1967) and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Thereafter, Appellant
filed a pro se brief.  We dismiss Appellant's appeal.


Background

	Appellant was charged by indictment with aggravated robbery.  Appellant pleaded guilty and
was placed on deferred adjudication community supervision.  The State filed an application to
proceed to final disposition alleging that Appellant had violated the terms of her community
supervision.  Appellant pleaded true to violating two such terms.  The trial court found to be true the
allegations to which Appellant had pleaded true, and assessed punishment at imprisonment for
fifteen years.  This appeal followed.


Analysis Pursuant to Anders v. California

	Appellant's counsel has filed a brief in compliance with Anders and Gainous.  Counsel's
brief shows that he has diligently reviewed the appellate record and that he is well acquainted with
the facts of this case.  In compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978), counsel's brief presents a thorough chronological summary of the
procedural history of the case and further states that counsel is unable to present any arguable issues
for appeal.  Appellant filed a pro se brief setting forth a plea that we reconsider the trial court's
sentence on equitable grounds.  We have reviewed the record for reversible error and have found
none.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).


Conclusion

	As required, Appellant's counsel has moved for leave to withdraw.  See In re Schulman, 252
S.W.3d 403, 407 (Tex. Crim. App. 2008) (orig. proceeding); Stafford v. State, 813 S.W.2d 503, 511
(Tex. Crim. App. 1991).  We are in agreement with Appellant's counsel that this appeal is wholly
frivolous.  Accordingly, his motion for leave to withdraw is hereby granted, and we dismiss this
appeal.  See Schulman, 252 S.W.3d at 408-09 ("After the completion of these four steps, the court
of appeals will either agree that the appeal is wholly frivolous, grant the attorney's motion to
withdraw, and dismiss the appeal, or it will determine that there may be plausible grounds for
appeal.").

	Counsel has a duty, within five days of the date of this opinion, to send a copy of the opinion
and judgment to Appellant and advise her of her right to file a petition for discretionary review.  See
Tex. R. App. P. 48.4; Schulman, 252 S.W.3d at 411 n.35.  Should Appellant wish to seek further
review of this case by the Texas Court of Criminal Appeals, she must either retain an attorney to file
a petition for discretionary review or she must file a pro se petition for discretionary review.  See
Schulman, 252 S.W.3d at 408 n.22.  Any petition for discretionary review must be filed within thirty
days following the date of this opinion or the date the last timely motion for rehearing is overruled
by this court.  See Tex. R. App. P. 68.2.  Any petition for discretionary review must be filed with this
court, after which it will be forwarded to the Texas Court of Criminal Appeals along with the rest
of the filings in this case.  See Tex. R. App. P. 68.3.  Any petition for discretionary review should
comply with the requirements of Rule 68.4 of the Texas Rules of Appellate Procedure.  See Tex. R.
App. P. 68.4; Schulman, 252 S.W.3d at 408 n.22.

Opinion delivered July 31, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)


